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 8

 9                          UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11

12 RAUL URIARTE-LIMON                     )   Case No.:
                                          )
13                             Plaintiff, )
                                          )   COMPLAINT FOR:
14         vs.                            )
                                          )   DENIAL OF CIVIL RIGHTS AND
15                                        )   ACCESS TO PUBLIC FACILITIES TO
                                          )   PHYSICALLY DISABLED PERSONS
16   BENJAMIN HOTTINGER, an individual )      IN VIOLATION OF THE AMERICANS
     dba HOTTINGERS FAMILY MEATS          )   WITH DISABILITIES ACT OF 1990,
                                              (42 U.S.C. §12101, et seq.) AND THE
17   and as Trustee of the HOTTINGER,     )   UNRUH CIVIL RIGHTS ACT,
     BENJAMIN LOUIS AND BELVA R           )   (CALIFORNIA CIVIL CODE §51, et
18   TRUST; and DOES 1-10,                )   seq.)
                                          )
19                                        )   DEMAND FOR JURY TRIAL
                            Defendants.   )
20                                        )
                                          )
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                                       COMPLAINT
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 1         Plaintiff RAUL URIARTE-LIMON (hereinafter referred to as “Plaintiff”)
 2 complains of BENJAMIN HOTTINGER, an individual dba HOTTINGERS

 3 FAMILY MEATS and as Trustee of the HOTTINGER, BENJAMIN LOUIS AND

 4 BELVA R TRUST; and DOES 1-10 (each, individually a “Defendant” and

 5 collectively “Defendants”) and alleges as follows:

 6                                      I.     PARTIES
 7         1.    Plaintiff RAUL URIARTE-LIMON is a California resident and a
 8 qualified physically disabled person. He cannot walk due to paraplegia and uses a

 9 wheelchair for mobility.

10         2.    Defendants BENJAMIN HOTTINGER, an individual dba
11 HOTTINGERS FAMILY MEATS and as trustee of the HOTTINGER, BENJAMIN

12 LOUIS AND BELVA R TRUST; and DOES 1-10 are and were the owners,

13 operators, lessors and/or lessees of the subject business, property, and facility at all

14 times relevant in this Complaint.

15         3.    Plaintiff does not know the true names of Defendants, their business
16 capacities, their ownership connection to the property and business, or their relative

17 responsibilities in causing the access violations herein complained of, and alleges a

18 joint venture and common enterprise by all such Defendants. Plaintiff is informed and

19 believes that each of the Defendants herein, including DOES 1 through 10, inclusive,

20 is responsible in some capacity for the events herein alleged, or is a necessary party

21 for obtaining appropriate relief. Plaintiff will seek leave to amend when the true

22 names, capacities, connections, and responsibilities of the Defendants and Does 1

23 through 10, inclusive, are ascertained.

24         4.    Defendants own and owned the property located at 5437 Chino Ave.,
25 Chino CA 91710 (“Subject Property”) at all relevant times.

26         5.    Defendants operate and operated the meat store doing business as
27 HOTTINGERS FAMILY MEATS (“Shop”), located at the Subject Property, at all

28 relevant times.

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 1         6.     Plaintiff alleges that the Defendants have been and are the owners,
 2 franchisees, lessees, general partners, limited partners, agents, trustees, employees,

 3 subsidiaries, partner companies and/or joint ventures of each of the other Defendants,

 4 and performed all acts and omissions stated herein within the course and scope of

 5 such relationships causing the damages complained of herein.

 6                           II.    JURISDICTION AND VENUE
 7         7.     This Court has subject matter jurisdiction over this action pursuant to 28
 8 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with

 9 Disabilities Act of 1990, U.S.C. §12101, et seq.

10         8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
11 action, arising out of the same nucleus of operative facts and arising out of the same

12 transactions, is also brought under California’s Unruh Civil rights Act, which

13 expressly incorporates the Americans with Disabilities Act.

14         9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b) and
15 is founded on the fact that the real property which is the subject of this action is

16 located in this district and that Plaintiff’s causes of action arose in this district.

17                                         III.   FACTS
18         10.    Plaintiff uses a wheelchair for mobility and travels by means of a
19 specially equipped van. Plaintiff prides himself on not just his independence but also

20 on empowering other disabled persons.

21         11.    Defendants’ Shop is a retail meat store which is open to the public, a
22 place of public accommodation, and a business establishment.

23         12.    Plaintiff went to the Shop on June 17, 2020 to purchase meat and other
24 food products.

25         13.    Unfortunately, during Plaintiff’s visit to the Shop, Defendants did not
26 offer persons with disabilities with equivalent facilities, privileges, advantages, and

27 accommodations offered to other persons.

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 1        14.    Plaintiff encountered barriers that interfered with and denied Plaintiff the
 2 ability to use and enjoy the goods, services, privileges, advantages, and

 3 accommodations offered by Defendants at the Subject Property.

 4        15.    Parking for patrons visiting the Subject Property and Shop are among the
 5 facilities, privileges advantages, and accommodations offered by Defendants.

 6        16.    When parking is provided, there must be at least one marked accessible
 7 parking space designated and marked for disabled persons. However, there is no

 8 accessible parking for disabled persons at the Shop. No spaces within the parking lot

 9 comply with the Americans with Disabilities Act. There is only a faded,

10 noncompliant disabled parking sign, and faded blue paint in one corner of the lot.

11 2010 ADA Standards §208.2; §502.

12        17.    Plaintiff, on information and belief, alleges that an accessible parking
13 space reserved and marked for persons with disabilities used to exist at this location.

14        18.    Unfortunately, the defendants do not maintain the parking lot so that the
15 parking spaces designed for use by persons with disabilities remain available.

16        19.    Currently, there is not a single accessible parking space reserved for
17 persons with disabilities available.

18        20.    There must also be an accessible path of travel from accessible parking
19 spaces to the entrance. However, there are no such accessible paths of travel at the

20 Shop. There is an approximately six-inch concrete step to enter the Shop, and only a

21 noncompliant asphalt ramp. 2010 ADA Standards §206.2.1.

22        21.    When outdoor seating is provided, there must be ADA compliant
23 number of exterior table seating with compliant exterior table clearances.

24 Unfortunately, none of the picnic table style exterior seating complies with the ADA.

25 2010 ADA Standards §226.1; §306.1; §306.3.1.

26        22.    Plaintiff personally encountered these barriers.
27        23.    These inaccessible conditions denied Plaintiff full and equal access and
28 caused him difficulty, humiliation, and frustration.

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 1         24.    The barriers existed during Plaintiff’s visit to the Shop on June 17, 2020.
 2         25.    Plaintiff alleges that Defendants knew that the architectural barriers
 3 prevented equal access. Plaintiff will prove that Defendants had actual knowledge

 4 that the architectural barriers prevented equal access and that the noncompliance with

 5 the Americans with Disabilities Act and Title 24 of the California Building Code

 6 regarding accessible features was intentional.

 7         26.    Plaintiff intends to return to Defendants’ public accommodation
 8 facilities in the near future. Plaintiff is currently deterred from returning because of

 9 the knowledge of barriers to equal access that continue to exist at Defendants’

10 facilities that relate to Plaintiff’s disabilities.

11         27.    Defendants have failed to maintain in working and useable conditions
12 those features necessary to provide ready access to persons with disabilities. 28

13 C.F.R. §36.211(a).

14         28.    Defendants have the financial resources to remove these barriers without
15 much expense or difficulty in order to make their Property more accessible to their

16 mobility impaired customers. These barriers are readily achievable to remove. The

17 United States Department of Justice has identified that these types of barriers are

18 readily achievable to remove.

19         29.    To date, Defendants refuse to remove these barriers, in violation of the
20 law, willfully depriving disabled persons including Plaintiff of important civil rights.

21         30.    On information and belief, the Plaintiff alleges that the Defendants’
22 failure to remove these barriers was intentional because the barriers are logical and

23 obvious. During all relevant times Defendants had authority, control and dominion

24 over these conditions and therefore the absence of accessible facilities was not a

25 mishap but rather an intentional act.

26         31.    The barriers to access are listed above without prejudice to Plaintiff
27 citing additional barriers to access by an amended complaint after inspection by

28 Plaintiff’s access consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir.

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 1 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One

 2 Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011). All of these barriers to access

 3 render the premises inaccessible to physically disabled persons who are mobility

 4 impaired, such as Plaintiff, and are barriers Plaintiff may encounter when he returns

 5 to the premises. All facilities must be brought into compliance with all applicable

 6 federal and state code requirements, according to proof.

 7                               FIRST CAUSE OF ACTION
 8                 Violation of the Americans With Disabilities Act of 1990
 9                                 (42 U.S.C. §12101, et seq.)
10                                  (Against All Defendants)
11         32.   Plaintiff alleges and incorporates by reference, as if fully set forth again
12 herein, each and every allegation contained in all prior paragraphs of this complaint.

13         33.   More than thirty years ago, the 101st United States Congress found that
14 although “physical or mental disabilities in no way diminish a person’s right to fully

15 participate in all aspects of society, yet many people with physical or mental

16 disabilities have been precluded from doing so because of discrimination…in such

17 critical areas as employment, housing, public accommodations, education,

18 transportation, communication, recreation, institutionalization, health services,

19 voting, and access to public services.” 42 U.S.C. §12101(a).

20         34.   In 1990 Congress also found that “the Nation’s proper goals regarding
21 individuals with disabilities are to assure equality of opportunity, full participation,

22 independent living, and economic self-sufficiency for such individuals,” but that “the

23 continuing existence of unfair and unnecessary discrimination and prejudice denies

24 people with disabilities the opportunity to compete on an equal basis and to pursue

25 those opportunities for which our free society is justifiably famous.” 42 U.S.C.

26 §12101(a).

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 1         35.    In passing the Americans with Disabilities Act of 1990, which was
 2 signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the

 3 “ADA”), Congress stated as its purpose:

 4         “It is the purpose of this Act
 5
           (1) to provide a clear and comprehensive national mandate for the
 6         elimination of discrimination against individuals with disabilities;
 7
           (2) to provide clear, strong, consistent, enforceable standards addressing
 8         discrimination against individuals with disabilities;
 9
           (3) to ensure that the Federal Government plays a central role in enforcing
10         the standards established in this Act on behalf of individuals with
11         disabilities; and

12         (4) to invoke the sweep of congressional authority, including the power to
13         enforce the fourteenth amendment and to regulate commerce, in order to
           address the major areas of discrimination faced day to-day by people with
14         disabilities.”
15
     42 USC §12101(b).
16
           36.    As part of the ADA, Congress passed “Title III – Public
17
     Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
18
     seq.). Title III of the ADA prohibits discrimination against any person “on the basis
19
     of disability in the full and equal enjoyment of the goods, services, facilities,
20
     privileges, advantages, or accommodations of any place of public accommodation by
21
     any person who owns, leases (or leases to), or operates a place of public
22
     accommodation.” 42 U.S.C. §12182(a).
23
           37.    The specific prohibitions against discrimination include, inter alia, the
24
     following:
25
        • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
26        shall be discriminatory to afford an individual or class of individuals, on
27        the basis of a disability or disabilities of such individual or class, directly,
          or through contractual, licensing, or other arrangements, with the
28        opportunity to participate in or benefit from a good, service, facility,
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 1         privilege, advantage, or accommodation that is not equal to that afforded
 2         to other individuals.”

 3      • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
 4        modifications in policies, practices, or procedures when such
          modifications are necessary to afford such goods, services, facilities,
 5        privileges, advantages, or accommodations to individuals with
 6        disabilities...;”

 7      • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
 8        necessary to ensure that no individual with a disability is excluded, denied
          service, segregated, or otherwise treated differently than other individuals
 9        because of the absence of auxiliary aids and services...;”
10
        • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural barriers,
11
          and communication barriers that are structural in nature, in existing
12        facilities... where such removal is readily achievable;”
13
        • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that the
14        removal of a barrier under clause (iv) is not readily achievable, a failure
          to make such goods, services, facilities, privileges, advantages, or
15
          accommodations available through alternative methods if such methods
16        are readily achievable.”
17
           38.    Plaintiff is a qualified individual with a disability as defined in the
18
     Rehabilitation Act and in the Americans with Disabilities Act of 1990.
19
           39.    The acts and omissions of Defendants set forth herein were in violation
20
     of Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
21
     C.F.R. Part 36 et seq.
22
           40.    The removal of each of the physical and policy barriers complained of
23
     by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
24
     achievable” under the standards of §12181 and §12182 of the ADA. Removal of
25
     each and every one of the architectural and/or policy barriers complained of herein
26
     were already required under California law. Further, on information and belief,
27
     alterations, structural repairs or additions since January 26, 1993, have also
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 1 independently triggered requirements for removal of barriers to access for disabled

 2 persons per §12183 of the ADA. In the event that removal of any barrier is found to

 3 be “not readily achievable,” Defendants still violated the ADA, per

 4 §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages

 5 and accommodations through alternative methods that were “readily achievable.”

 6        41.    On information and belief, as of the date of Plaintiff’s encounter at the
 7 premises and as of the filing of this Complaint, Defendants’ actions, policies, and

 8 physical premises have denied and continue to deny full and equal access to Plaintiff

 9 and to other mobility disabled persons in other respects, which violate Plaintiff’s right

10 to full and equal access and which discriminate against Plaintiff on the basis of his

11 disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of the

12 goods, services, facilities, privileges, advantages and accommodations, in violation of

13 42 U.S.C. §12182 and §12183 of the ADA.

14        42.    Defendants’ actions continue to deny Plaintiff’s rights to full and equal
15 access and discriminated and continue to discriminate against him on the basis of his

16 disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of

17 Defendants’ goods, services, facilities, privileges, advantages and accommodations,

18 in violation of the ADA, 42 U.S.C. §12182.

19        43.    Further, each and every violation of the Americans With Disabilities Act
20 of 1990 also constitutes a separate and distinct violation of California Civil Code

21 §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of damages

22 and injunctive relief pursuant to California law, including but not limited to Civil

23 Code §54.3 and §55.

24                            SECOND CAUSE OF ACTION
25                         Violation of the Unruh Civil Rights Act
26                            (California Civil Code §51, et seq.)
27                                 (Against All Defendants)
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 1        44.    Plaintiff alleges and incorporates by reference, as if fully set forth again
 2 herein, each and every allegation contained in all prior paragraphs of this complaint.

 3        45.    California Civil Code §51 provides that physically disabled persons are
 4 free and equal citizens of the state, regardless of their medical condition or disability:

 5

 6        All persons within the jurisdiction of this state are free and equal, and no
          matter what their sex, race, color, religion, ancestry, national origin,
 7        disability, or medical condition are entitled to full and equal
 8        accommodations, advantages, facilities, privileges, or services in all
          business establishments of every kind whatsoever.
 9

10 California Civil Code §51(b) (emphasis added).

11        46.    California Civil Code §51.5 also states, in part: “No business,

12 establishment of any kind whatsoever shall discriminate against…any person in this

13 state on account” of their disability.

14        47.    California Civil Code §51(f) specifically incorporates (by reference) an

15 individual’s rights under the ADA into the Unruh Act.

16        48.    California Civil Code §52 provides that the discrimination by

17 Defendants against Plaintiff on the basis of his disability constitutes a violation of the

18 general antidiscrimination provisions of §51 and §52.

19        49.    Each of Defendants’ discriminatory acts or omissions constitutes a

20 separate and distinct violation of California Civil Code §52, which provides that:

21        Whoever denies, aids or incites a denial, or makes any discrimination or
          distinction contrary to section 51, 51.5, or 51.6 is liable for each and every
22        offense for the actual damages, and any amount that may be determined
23        by a jury, or a court sitting without a jury, up to a maximum of three times
          the amount of actual damage but in no case less than four thousand dollars
24        ($4,000), and any attorney’s fees that may be determined by the court in
25        addition thereto, suffered by any person denied the rights provided in
          Section 51, 51.5, or 51.6.
26

27        50.    Any violation of the Americans with Disabilities Act of 1990 constitutes

28 a violation of California Civil Code §51(f), thus independently justifying an award of

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 1 damages and injunctive relief pursuant to California law, including Civil Code §52.

 2 Per Civil Code §51(f), “A violation of the right of any individual under the

 3 Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a

 4 violation of this section.”

 5          51.   The actions and omissions of Defendants as herein alleged constitute a
 6 denial of access to and use of the described public facilities by physically disabled

 7 persons within the meaning of California Civil Code §51 and §52.

 8          52.   As a proximate result of Defendants’ action and omissions, Defendants
 9 have discriminated against Plaintiff in violation of Civil Code §51 and §52, and are

10 responsible for statutory, compensatory and actual damages to Plaintiff, according to

11 proof.

12                                  PRAYER FOR RELIEF
13          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
14 forth in this Complaint. Plaintiff has suffered and will continue to suffer irreparable

15 injury as a result of the unlawful acts, omissions, policies, and practices of the

16 Defendants as alleged herein, unless Plaintiff is granted the relief he requests.

17 Plaintiff and Defendants have an actual controversy and opposing legal positions as

18 to Defendants’ violations of the laws of the United States and the State of California.

19          The need for relief is critical because the civil rights at issue are paramount
20 under the laws of the United States of America and the State of California.

21          WHEREFORE, Plaintiff prays judgment against Defendants, and each of them,
22 as follows:

23          1.    Issue a preliminary and permanent injunction directing Defendants as
24   current owners, operators, lessors, and/or lessees of the Subject Property and
25   premises to modify the above described property, premises, policies and related
26   facilities to provide full and equal access to all persons, including persons with
27   physical disabilities; and issue a preliminary and permanent injunction pursuant to
28   ADA §12188(a) and state law directing Defendants to provide facilities and services
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 1   usable by Plaintiff and similarly situated persons with disabilities, and which provide
 2   full and equal access, as required by law, and to maintain such accessible facilities
 3   once they are provided; to cease any discriminatory policies; and to train
 4   Defendants’ employees and agents how to recognize disabled persons and
 5   accommodate their rights and needs;
 6         2.    Retain jurisdiction over the Defendants until such time as the Court is
 7   satisfied that Defendants’ unlawful policies, practices, acts and omissions, and
 8   maintenance of physically inaccessible public facilities and policies as complained of
 9   herein no longer occur, and cannot recur;
10         3.    Award to Plaintiff all appropriate damages, including but not limited to
11   actual and statutory damages according to proof;
12         4.    Award to Plaintiff all reasonable attorney fees, litigation expenses, and
13   costs of this proceeding pursuant to 42 U.S.C §12205 and California Civil Code §52;
14   and
15         5.    Grant such other and further relief as this Court may deem just and
16   proper.
17

18 DATED: August 17, 2020                         VALENTI LAW APC
19

20                                                  By: /s/ Matt Valenti
21                                                  Matt Valenti, Esq.
                                                    Attorney for Plaintiff
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 1                                     JURY DEMAND
 2
           Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3
     jury is permitted.
 4

 5

 6
     DATED: August 17, 2020                        VALENTI LAW APC
 7

 8
                                                   By: /s/ Matt Valenti
 9
                                                   Matt Valenti, Esq.
10                                                 Attorney for Plaintiff
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